  Case 3:12-cr-00434-FAB       Document 352      Filed 01/29/13    Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                             CRIMINAL 12-434 CCC

 12) LUIS D. VAZQUEZ-RIVERA
 Defendant


                                        ORDER

       Having considered the Report and Recommendation filed on January 11, 2013
(docket entry 335) on a Rule 11 proceeding of defendant held before U.S. Magistrate Judge
Marcos E. Lopez on January 9, 2013, to which no opposition has been filed, the same is
APPROVED. Accordingly, the plea of guilty of defendant is accepted. The Court FINDS
that his plea was voluntary and intelligently entered with awareness of his rights and the
consequences of pleading guilty and contains all elements of the offense charged in the
indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since January 9, 2013. The sentencing hearing is set for April 24,
2013 at 4:30 p.m.
       SO ORDERED.
       At San Juan, Puerto Rico, on January 28, 2013.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
